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           In the United States Court of Federal Claims
                                            No.17-495C
                                     Filed: February 12, 2021


 JODY D. KIMBRELL,

                     Plaintiff,

 v.

 UNITED STATES,

                    Defendant.


                                              ORDER

       This case was reassigned to the undersigned on February 9, 2021, upon the recusal of
Judge Schwartz, to whom it was only recently reassigned.

        A review of the docket sheet reveals many unresolved motions, some dating back almost
to the initiation of the case. For docket management purposes and to try to set the case on a path
towards resolution, all pending motions are DENIED, and the Court adopts the following
schedule.

           The plaintiff shall file a renewed motion to amend her complaint by February 26,
2021. The defendant shall file a response to the renewed motion to amend the complaint and
shall file a renewed motion to dismiss, including updated citations and references in its brief, by
March 26, 2021. The plaintiff shall file her opposition to the renewed motion to dismiss and a
reply brief in support of her renewed motion to amend her complaint by April 23, 2021. The
defendant shall file its reply brief in support of its renewed motion to dismiss by May 7, 2021.

          The plaintiff is prohibited from filing any pleading, brief, submission, or motion with
the Court, aside from those specifically directed in the preceding paragraph, unless she first
moves for leave from the Court for the proposed filing, and the Clerk shall reject any such filings
except for those motions and briefs specified in the preceding paragraph or a motion for leave to
file a document, unless such filing has been specifically authorized by the Court. This
prohibition on the plaintiff shall be in effect until the Court resolves the defendant’s renewed
motion to dismiss.

      It is so ORDERED.
                                                                     s/ Richard A. Hertling
                                                                     Richard A. Hertling
                                                                     Judge
